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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Matthew Kaufrinder, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:16−cv−02622
                                                         Honorable Elaine E. Bucklo
Anselmo Lindberg Oliver LLC
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 21, 2016:


       MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
10/21/2016 and continued to 4/17/2017 at 9:30 a.m. Mailed notice. (mgh, )




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